10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Case 6:18-CV-01949-.]A-TBS Document 1 Filed 11/13/18 Page 1 of 7 Page|D 1
F\LED

zmauov \3 Pr\ 3=36

Rl
UNITED STATES DISTRICT CQUR'I`\~ .'\ ltgx%?q%£‘“*
FOR THE MIDDLE DISTRICT OF FLORID`A

 

 

 

ORLANDO DIVISION
L U CKLOCK ) C
A RABLA , ) ase No.:
) l,‘.~\% c\) - \Q 419 O 1
Plaintiff, )
v. )
)
KOHLS DEPARTMENT STORES, ) JURY TRIAL DEMANDED
INc., )
)
Defendant. g
L)MLAIN_T

LAURA BLACKLOCK (“Plaintiff”), by and through her attorneys,
KIMMEL & SILVERMAN, P.C., alleges the following against KOHLS

DEPARTMENT STORES, INC. (“DEFENDANT”):
INTRODUCTION

l. Plaintiff’s Complaint is based on the 'l`elephone Consumer Protection
Act, 47 U.S.C. §227 et seq. (“TCPA”) and the Florida Consumer Collection

Practices Act, Florida Statute §559.55 et seq. (“FCCPA”).

.1.

;2°61?)%

 

PLAINTIFF’S COMPLAINT

10

ll

12

13

14

15

16

17

19

20

21

22

23

24

25

26

27

28

 

 

Case 6:18-CV-01949-.]A-TBS Document 1 Filed 11/13/18 Page 2 of 7 Page|D 2

JURISDICTION AND VENUE

2. Jurisdiction of this Court arises under 28 U.S.C. § 1331, and for
pendant state law claims 28 U.S.C. § 1367. See Mims v. Arrow Fin. Services,
M, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012)

3. Defendant regularly conducts business in the State of Plorida, thus,
personal jurisdiction is established.

4. Venue is proper pursuant to 28 U.S.C. § l39l(b)(2).

PARTIES

5. Plaintiff is a natural person residing in Casselberry, Florida 32707.

6. Plaintiff is a “person” as that term is defined by 47 U.S.C. §153(39).

7. Plaintiff is a “consumer” as defined by the FCCPA and is a person
whom the act was intended to protect, FCCPA, Fla. Stat. § 559.55(8).

8. Defendant is a “person” as that term is defined by 47 U.S.C. §
153(39).

9. Defendant is a “creditor” as that term is defined in the FCCPA, Fla.
Stat. § 559.55(5).

10. Defendant is a corporation with its principal place of business located
at N56 W17000 Ridgewood Drive, Menomonee Falls, Wisconsin 53051.

ll. As a part of its regular business, Defendant attempts to collect debt

from natural persons for amounts owed on Kohl’s credit accounts.

_2_

PLAIN'I`IFF’S COMPLAINT

 

10

ll

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 6:18-CV-01949-.]A-TBS Document 1 Filed 11/13/18 Page 3 of 7 Page|D 3

12. Defendant acted through its agents, employees, ofiicers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers.

FACTUAL ALLEGATIONS

13. Plaintiff has a cellular telephone number.

14. Plaintiff has only used this phone as a cellular telephone.

15. Beginning in or about 2016 and continuing through March 2017,
Defendant placed repeated, continuous telephone calls to Plaintiff’s cellular
telephone number.

16. During this time Defendant used an automatic telephone dialing
system, automated message and/or prerecorded voice when contacting Plaintiff.

17. Plaintiff knew that Defendant was using an automatic telephone
dialing system, automated message and/or prerecorded voice because when she
answered calls she would be greeted with either a recorded message identifying
Defendant or a noticeable silence or delay with no caller on the phone before the
call was transferred to a live representative or dropped.

18. Defendant’s telephone calls were not made for “emergency purposes.”

19. Desiring to stop the repeated telephone calls, Plaintiff spoke with

Defendant’s agents in or around November 2016 and told them to stop calling.

-3-

 

PLAINTIFF’S COMPLAINT

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 6:18-CV-01949-.]A-TBS Document 1 Filed 11/13/18 Page 4 of 7 Page|D 4

20. Plaintiff repeated this request on numerous occasions alter this flrsu
request.

21. Despite requests to stop calling, Defendant continued to call Plaintifll
on her cellular telephone up through March 2017,

22. Plaintiff found Defendant’s repeated automated calls to be invasive,
harassing, frustrating, annoying, aggravating, and upsetting.

23. Defendant’s calls were not placed for emergency purposes.

24. Upon information and belief, Defendant conducts business in a

manner which violates the TCPA and the FCCPA.

COUNT I
DEFENDANT VIOLATED THE TELEPHONE CONSUMER
PROTECTION ACT

25. Plaintiff incorporates the forgoing paragraphs as though the same were
set forth at length herein.

26. Defendant initiated multiple automated telephone calls to Plaintiff’s
cellular telephone number.

27. Defendant initiated calls to Plaintiff’s cellular telephone using a pre-
recorded or artificial voice.

28. Defendant initiated automated calls to Plaintiff using an automatic

telephone dialing system,

-4-

 

PLAINTIFF’S COMPLAINT

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 6:18-CV-01949-.]A-TBS Document 1 Filed 11/13/18 Page 5 of 7 Page|D 5

29. Defendant’s calls were to Plaintiff were not made for “emergency
purposes.”

30. Af’cer Plaintiff told Defendant to stop calling, Defendant knew or
should have known that it did not have consent to call and/or that any consent it
thought it had was revoked.

31. Defendant’s acts as described above were done with malicious,
intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
under the law and with the purpose of harassing Plaintiff.

32. The acts and/or omissions of Defendant were done unfairly,
unlawfully, intentionally, deceptively and fraudulently and absent bona tide error,
lawiiil right, legal defense, legal justification or legal excuse.

33. As a result of the above violations of the TCPA, Plaintiff has sufferedl
the losses and damages as set forth above entitling Plaintiff to an award oil

statutory, actual and trebles damages.

COUNT II
DEFENDANT VIOLATED THE FLORIDA CONSUMER COLLECTION
PRACTICES ACT
34. Plaintiff incorporates the foregoing paragraphs as though the same

were set forth at length herein.

35. Any person attempting to collect a consumer debt violate § 559.72(7)

.5.

 

PLAINTIFF'S COMPLAINT

10

11

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 6:18-CV-01949-.]A-TBS Document 1 Filed 11/13/18 Page 6 of 7 Page|D 6

by williiilly communicating with the debt with such frequency as can reasonably
be expected to harass the debtor or willfully engaging in other conduct which can
be reasonable excepted to abuse or harass, the debtor, such as causing a telephone
to ring or engaging any person in telephone conversation repeatedly or
continuously with intent to annoy, abuse, or harass.

36. Defendant violated § 559.72(7) when it placed repeated and
continuous telephone calls to Plaintiff between the summer of 2015 and early

2017, calling over and over again despite knowing its calls were unwanted.

PRAYER FOR RELIEF
WI-IEREFORE, Plaintiff, LAURA BLACKLOCK, respectfully prays for a
judgment as follows:

a. Statutory damages of $1,000.00 pursuant to Florida Consumer
Collection Practices Act, Fla. Stat. §559.77; and

b. Costs and reasonable attorneys’ fees pursuant to Florida'
Consumer Collection Practices Act, Fla. Stat. §559.77; and

c. The greater of all actual damages suffered pursuant to 47
U.S.C. § 227(b)(3)(A); or

d. Statutory damages of $500.00 per violative telephone call

pursuant to 47 U.S.C. § 227(b)(3 )(B); or

-5_

PLAINTIFF’S COMPLAINT

 

10

11

13

14

15

16

17

19

20

21

22

23

24

25

26

27

28

 

 

-:=.¢¢"'

Case 6:18-CV-01949-.]A-TBS Document 1 Filed 11/13/18 Page 7 of 7 Page|D 7

e. Treble damages of $l,500.00 per violative telephone call

pursuant to 47 U.S.C. §227(b)(3); and

f. Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and

g. Any other relief deemed appropriate by this Honorable Court.

DEMAND FOR JURY TRIAL

PLEASE TAKE NOTICE that Plaintiff, LAURA BLACKLOCK, demands

ajury trial in this case.

Dated: November 8, 3018

RESPECTFULLY SUBMITTED,

By: /s/ Amy L. Bennecoff Ginsburg
Amy L. Bennecoff Ginsburg, Esq.

Fla. Bar No.: 1002337

Kimmel & Silverman, P.C.

30 East Butler Pike

Ambler, PA 19002

Phone: (215) 540-8888
Facsimile: (877) 788-2864
Email: a insbur creditlaw.com

-7.

PLAINTIFF’S COMPLA[NT

 

